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                                   UNITED STATES DISTRICT COURT
                                       DISTRICT OF NEW JERSEY
                                      MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                               DATE: March 5, 2025
JUDGE KATHARINE S. HAYDEN
COURT REPORTER: MELISSA MORMILE

TITLE OF CASE:                                               DOCKET # 25-cr-137
UNITED STATES OF AMERICA

            vs.
KYSE S. ABUSHANAB

               DEFT. PRESENT

APPEARANCES:
Sammi Malek, AUSA for Government
Robert Scrivo, Esq. for Defendant
Laron Day, U.S. Pretrial Services
Kristen McKeown, U.S. Pretrial Services

Nature of Proceedings: Initial Appearance & Plea Hearing
Formal charges read into the record.
Defendant sworn.
PLEA: GUILTY ON COUNT 1 OF THE INFORMATION
Waiver of indictment filed.
Ordered plea agreement approved.
Ordered plea accepted.
Rule 11 application filed.
Sentencing scheduled for 9/24/25 @ 2 pm.
Ordered bail set at a $100,000 unsecured bond.
Order of Release filed with conditions.
Brady order filed.
Ordered counsel to confer and discuss briefing for sentencing submissions.

Time Commenced: 2:00 PM
Time Adjourned: 4:00 PM




                                                          Christine Melillo, Deputy Clerk
                                               to the Honorable Katharine S. Hayden, U.S.D.J.
